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                                        EXHIBIT A


1.      Agro, Joseph
2.      Anderson, Isaac, Individually and d/b/a Epiphany Lutheran Church
3.      Ayers, George, Individually and d/b/a AOH Church of God, Inc.
4.      Bell, David, Individually and d/b/a M. D. Bell Co., Inc.
5.      Bizette, Laurence Jr., Individually and d/b/a Antioch Family Church, Inc.
6.      Boutwell, Ed, Individually and d/b/a New Beginnings Church of the Gulf Coast
7.      Breckenridge, Vanna, Individually and d/b/a Ministry of New Beginnings
8.      Brown, Kathleen, Individually and d/b/a Kathleen’s Fiber Art
9.      Bufford, Darrell, Individually and d/b/a NaturScent/DBA Gold Seal Inc.
10.     Cain, Tanya, Individually and d/b/a Dynasty Collection, Inc.
11.     Chance, Bessie
12.     Cheddie, Dhaneshwar
13.     Chien, Brian, Individually and d/b/a B & K & Company, Inc. d/b/a B&KCO.
14.     Ciolino, Steven, Individually and d/b/a C’s Discount Pharmacy
15.     Ciolino, Steven Individually and d/b/a Ciolino Pharmacy, Inc.
16.     Coleman, Vanessa, Individually and d/b/a Zion Church of God in Christ
17.     Cox, Anthony, Sr., Individually and d/b/a Westside Church of God in Christ
18.     Cox, Anthony, Sr., Individually and d/b/a Life Giving Community Development Center
19.     Cundall, J. Aaron, Individually and d/b/a IDEA America-Luscious Lures
20.     Dauterive, Robert, Individually and d/b/a Bob Dauterive Enterprises
21.     Day, Eric W. III, Individually and d/b/a Eric W. Day, III, DDS
22.     Denman, Morris, Individually and d/b/a Kingswood Baptist Church
23.     Dubose, Leevones, Individually and d/b/a Bay Area Women Coalition, Inc.
24.     Ebanks, Andria, Individually and d/b/a A. Ebanks Enterprize Cleaning Service
25.     Elowsky, Gary
26.     Evans, Linda, Individually and d/b/a White Apple Farms
27.     Farris, Grace, Individually and d/b/a Farris Properties
28.     Ferguson, Joseph, Individually and d/b/a CASA of Acadiana, LLC
29.     Fox, Leo, Individually and d/b/a St. John AOH Church of God
30.     Freeman, Jerry W., Individually and d/b/a Cabinetry Sales & Design
31.     Hamon, Timothy, Individually and d/b/a Christian Int’l Network of Prophetic Ministries
32.     Hamon, Thomas, Individually and d/b/a Vision Church
33.     Haston, Julius, Individually and d/b/a Walls of Salvation International Church
34.     Hebert, Garrett, Individually and d/b/a Alex Enterprises
35.     Hesseltine, Donald
36.     Hunter, Sylvia, Individually and d/b/a Forever Flowing Ministries Infant Center
37.     Johnson, Lucy, Individually and d/b/a Goudeau’s Healthmart Pharmacy
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38.     Johnson, Ross, Individually and d/b/a/ Tulane Memorial Baptist Church
39.     Jones, Herman, Individually and d/b/a First Community Missionary
40.     Jones, John Paul, Individually and d/b/a Jones Homes, LLC
41.     Jones, John Paul, Individually and d/b/a Jones Builders, Inc.
42.     Keriwala, Dilip, Individually and d/b/a Keriwala Motels, Inc., d/b/a America’s Best
        Suites
43.     Kim, Mary Rayford
44.     Lang, Enrique, Individually and d/b/a Fair Housing Agency of Alabama
45.     Lewis, Sparkle
46.     Lockhart, Robert, Individually and d/b/a Waterguard Technology Products
47.     Madere, Ronald, Individually and d/b/a Ronald A. Madere, DDS
48.     Martin, Gerard J., Individually and d/b/a Gerard J. Martin, DDS
49.     Melguizo , Juan C., Individually and d/b/a Juan Melguizo, DDS
50.     Metcalf, Timothy, Individually and d/b/a Deano’s Pizzarama, Inc.
51.     Metcalf, Timothy, Individually and d/b/a M & M Management-LA Seafood House
52.     Miller, Candace, Individually and d/b/a Van Eaton & Romero, Inc.
53.     Morgan, Brook
54.     Murray, Leon
55.     Norton, Laurence III, Individually and d/b/a Laurence T. Norton, III, DDS
56.     Norton, Tracey
57.     Oten, Devin, Individually and d/b/a Mighty Strength of Jesus Ministries
58.     Pate, Jesse Sr., Individually and d/b/a Family Enrichment (Tic-Tot Nursery)
59.     Pate, Jesse Sr., Individually and d/b/a Harvest Ripe Church
60.     Patel, Bimal, Individually and d/b/a Sheenal Inc.
61.     Peddrick, John
62.     Peterman, Bradley, Individually and d/b/a Peterman Appraisal Services
63.     Porter, John
64.     Richardson, B. O., Individually and d/b/a B. O. Richardson Real Estate
65.     Riley, Linda
66.     Robinson, Tanis, Individually and d/b/a C.A.’s House Bed & Breakfast
67.     Scott, Jesse, Individually and d/b/a Bible Way Apostolic Church of God
68.     Seaman, Kim, Individually and d/b/a Seaman & Associates
69.     Seymour, B. R., Individually and d/b/a First Pentecostal Church of Orange Grove Inc.
70.     Shavers, Donald, Individually and d/b/a Apostolic Overcoming Holiness Church of
        Christ
71.     Sheehan, Gale
72.     Shelton, Sherman, Individually and d/b/a Firehouse Full Gospel Ministries
73.     Shim, Youn, Individually and d/b/a Lafayette Korean Church
74.     Singh, Rajinder, Individually and d/b/a Sunshine Imports, Inc.
75.     Smith, Chancey, Individually and d/b/a True Praise Deliverance
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76.     Smith, Chancey, Individually and d/b/a True Praise Daycare
77.     Smith, Roy, Individually and d/b/a Roy L. Smith, DDS
78.     Sopariwala, Mohammed, Individually and d/b/a Royal Bliss Linens
79.     Sopariwala, Mohammed, Individually and d/b/a Royal Wireless Communications
80.     Sparrow, Chrysa, Individually and d/b/a Bunnies & Bows
81.     St. Ann, Jerome
82.     St. Ann, Morender
83.     Stanberry, Williemae, Individually and d/b/a Williemae Stanberry Real Estate Broker
84.     Taylor, Charles, Individually and d/b/a Full Gospel Holiness Church
85.     Taylor, Jim, Individually and d/b/a Marlow Floral Products
86.     Tharling, Dhongak, Individually and d/b/a Buddhist Temple
87.     Thibeault, Craig, Individually and d/b/a Theodore Mail, Ship & More
88.     Thomas, Clyde, Individually and d/b/a Word of Deliverance Church
89.     Thomas, Richard
90.     Tuminello, David, Individually and d/b/a David Tuminello, DDS
91.     Vasquez, Rodolfo
92.     Vickers, James
93.     Wang, Jay, Individually and d/b/a Value Travel Inn
94.     Williams, Gary Jr.
95.     Williams, James, Individually and d/b/a James R. Williams Appraisals
96.     Woods, Elester, Individually and d/b/a Back to the Bible Church
